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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

 IN RE:                                  :     CASE NO. 23-10669-pmb
                                         :
 PRECIOUS DEKOTA A. WHITE,               :     CHAPTER 7
           Debtor.                       :
 _____________________________           :     JUDGE BAISIER
                                         :
 INVITATION HOMES 7 LP,                  :
          Movant,                        :
 vs.                                     :
                                         :     CONTESTED MATTER
 PRECIOUS DEKOTA A. WHITE,               :
          Debtor.                        :
                                         :
 GRIFFIN E. HOWELL, III,                 :
           Trustee,                      :
                                         :
              Respondents.               :

                              NOTICE OF HEARING

       PLEASE TAKE NOTICE that Movant INVITATION HOMES 7 LP, has
filed a MOTION FOR RELIEF FROM STAY and related papers with the Court
seeking an Order Granting Motion for Relief from Stay.

      PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on
the MOTION FOR RELIEF FROM STAY at 10:00 A.M. on September 13, 2023, in
the 2nd Floor Courtroom, in the Lewis R. Morgan Federal Building and United
States Courthouse, 18 Greenville Street, Newnan, Georgia 30263, which may be
attended in person or via the Court’s Virtual Hearing Room. You may join the
Virtual Hearing Room through the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be
found on the Court’s website. Please also review the “Hearing Information” tab on
the judge’s webpage for further information about the hearing. You should be
prepared to appear at the hearing via video, but you may leave your camera in the
off position until the Court instructs otherwise. Unrepresented persons who do not

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have video capability may use the telephone dial-in information on the judge’s
webpage.

        Your rights may be affected by the court’s ruling on these pleadings. You
should read these pleadings carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.) If you do not want the court to grant the relief sought in these pleadings
or if you want the court to consider your views, then you and/or your attorney must
attend the hearing. You may also file a written response to the pleading with the
Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that
it is received by the Clerk at least two business days before the hearing. The address
of the Clerk's Office is Clerk, U. S. Bankruptcy Court, 18 Greenville Street, 2nd
Floor, Newnan, Georgia 30263. You must also mail a copy of your response to the
undersigned at the address stated below.

      If a hearing on the motion for relief from the automatic stay cannot be held
within thirty (30) days, Movant waives the requirement for holding a preliminary
hearing within thirty days of filing the motion and agrees to a hearing on the earliest
possible date. Movant consents to the automatic stay remaining in effect until the
Court orders otherwise.

Dated: August 22, 2023

                                               O’KELLEY & SOROHAN
                                               ATTORNEYS AT LAW, LLC

                                               /s/ John G. Brookhuis
                                               John G. Brookhuis
                                               Georgia Bar No. 940484
                                               Attorney for Movant
  4228 First Ave., Suite 10
  Tucker, GA 30084
  T: (770) 491-0175
  E: jbrookhuis@oslawllc.com




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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             NEWNAN DIVISION

 IN RE:                                    :        CASE NO. 23-10669-pmb
                                           :
 PRECIOUS DEKOTA A. WHITE,                 :        CHAPTER 7
           Debtor.                         :
 _____________________________             :        JUDGE BAISIER
                                           :
 INVITATION HOMES 7 LP,                    :
          Movant,                          :
 vs.                                       :
                                           :        CONTESTED MATTER
 PRECIOUS DEKOTA A. WHITE,                 :
          Debtor.                          :
                                           :
 GRIFFIN E. HOWELL, III,                   :
           Trustee,                        :
                                           :
                 Respondents.              :

                       MOTION FOR RELIEF FROM STAY

         COMES NOW, INVITATION HOMES 7 LP (“Movant”), by and through its

counsel of record, and shows this Court the following:

                                               1.

         PRECIOUS DEKOTA A. WHITE, (“Debtor”), having filed a voluntary

petition pursuant to 11 U.S.C. § 1301, et seq., are subject to the jurisdiction of this

Court.

                                               2.

         This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362.


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                                            3.

      This Motion is filed pursuant to 11 U.S.C. § 362(d). This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(G).

                                            4.

      Movant is the owner and landlord of certain real property located at 361

Hunterian Place, Newnan, GA 30265 (hereinafter referred to as “Subject Property”),

having purchased it from SR Sunbelt Homes Group 1, L.L.C., fka Progress

Residential Exchange Borrower, LLC (known to Debtor as Streetlane Homes) on or

about July 18, 2023. A true and correct copy of the Warranty Deed is attached hereto

as Exhibit “A” and incorporated herein by reference.

                                            5.

      The Subject Property is currently leased to Debtor pursuant to a Rental

Agreement at a rental rate of $2,114.70 per month plus a $11.00 utility service fee,

and gas, water, and sewer utilities which vary from month to month (“Lease”). A

true and correct copy of the Lease is attached hereto as Exhibit “B” and incorporated

herein by reference. A late fee of $100.00, is assessed if rent is not paid in full by

the fourth (4th) day of each month, with an additional $15.00 per day late fee each

day after that. Debtor listed the Lease with Streetlane Homes, now owned by

Movant, in Schedule G of their petition [Doc. 1, Pg. 43]. Debtor listed the property

as their residence in the voluntary petition [Doc. 1, Pg. 2]. Debtor did not list Movant

in the Statemen of Intention.
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                                            6.

      Debtor has defaulted under the terms of the Lease by failing to pay the

monthly rent, fees, utilities, and late fees as required beginning in at least July, 2023

when Movant took over ownership of the Subject Property, through the date of this

Motion. As of the filing of this motion, the unpaid rent, fees, and charges owed to

Movant is $3,514.30. A true and correct copy of the resident ledger for the Property

is attached hereto as Exhibit “C” and incorporated herein by reference. Movant

further alleges that Debtor will continue to incur arrearages in both rent and late fees.

                                            7.

      Movant seeks to dispossess Debtor and any other occupants from the Property

but is unable to exercise its state law remedies and pursue state law dispossessory

proceedings as the automatic may be in effect.

                                            8.

      Because Movant is the owner of the Subject Property but unable to dispossess

occupants of said Subject Property, Movant is not adequately protected and shows

that there is cause for relief from the automatic stay.

                                           8.

      Further, because there may be little or no equity in the property which could

benefit the Estate, the Trustee’s interest should be deemed abandoned and the stay

should be lifted with regard to Movant to allow it to proceed with the dispossessory

proceedings.
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      WHEREFORE, Movant prays for the following relief:

      (A)    An Order lifting the automatic stay, authorizing Movant to exercise its

rights to take possession and enjoy use of that property which it currently owns;

      (B)    That the relief granted herein be made binding in the event of

conversion to another Chapter of the Bankruptcy Code;

      (C)    That the Court validate any action(s) taken after bankruptcy was filed;

      (D)    That the Court waive the 14-Day Stay of Bankruptcy Rule 4001(a)(3);

      (E)    That Movant recover its reasonable costs and attorney’s fees for having

to file this Motion; and

      (F)    For such other and further relief as the Court deems just and equitable.

      Dated: August 22, 2023.


                                              O’KELLEY & SOROHAN
                                              ATTORNEYS AT LAW, LLC

                                              /s/ John G. Brookhuis
                                              John G. Brookhuis
                                              Georgia Bar No. 940484
                                              4228 First Ave., Suite 10
                                              Tucker, GA 30084
                                              T: (770) 491-0175
                                              E: jbrookhuis@oslawllc.com
                                              Attorney for Movant




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                          CERTIFICATE OF SERVICE

       I hereby certify that on August 22, 2023, I electronically filed the foregoing
Notice of Hearing and Motion For Relief From Stay with the Clerk of Court using
the CM/ECF system which will automatically send an e-mail notification of such
filing to the parties or attorneys of record. I have also on this day caused a copy of
the pleading to be placed in the first-class United States mail, postage prepaid,
addressed to the following recipients not participating in the CM/ECF system as
follows:


       Precious Dekota A. White            Office of the United States Trustee
          361 Hunterian Place                362 Richard Russell Building
          Newnan, GA 30265                       75 Ted Turner Dr. SW
             Pro-Se Debtor                         Atlanta, GA 30303
                                                       U.S. Trustee

         Griffin E. Howell, III
  Griffin E. Howell III & Assoc, Ltd
     127 1/2 East Solomon Street
             PO Box 2271
          Griffin, GA 30224
                Trustee

      Dated: August 22, 2023.

                                              O’KELLEY & SOROHAN
                                              ATTORNEYS AT LAW, LLC

                                              /s/ John G. Brookhuis
                                              John G. Brookhuis
                                              Georgia Bar No. 940484
                                              4228 First Ave., Suite 10
                                              Tucker, GA 30084
                                              T: (770) 491-0175
                                              E: jbrookhuis@oslawllc.com
                                              Attorney for Movant




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              EXHIBIT
                A



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              EXHIBIT
                B



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                                          RENTAL AGREEMENT
  This RENTAL AGREEMENT (called the “Agreement”) is entered into by and between
  Streetlane Homes (“Landlord, Authorized Agent for Owner”); and

 Resident’s Name:     Precious White                         Resident’s Name:           Ashley Bragg
 Primary Phone #:                                            Primary Phone #:

 Resident’s Name:                                            Resident’s Name:
 Primary Phone #:                                            Primary Phone #:

 Resident’s Name:                                            Resident’s Name:
 Primary Phone #:                                            Primary Phone #:

   (collectively, “Resident” whether one or more).


           MONTHLY RECURRING CHARGES                                               DEPOSITS AND FEES



          Rent                       $2,114.70                  Refundable Security                            $1,680.00
                                                                      Deposit



        Pet Rent                        $0.00                    Non-Refundable Pet Fee
                                                                                                                $0.00



          Other                         $0.00
                                                                      Administrative Fee                        $0.00




  TOTAL MONTHLY                      $2,114.70
      CHARGES


Landlord Initials                                                       Resident Initials                  /
                                                                                                           /
                                                                                                           /




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 1.     RENTAL PROPERTY. Resident agrees to rent from Landlord and Landlord agrees to rent to
 Resident the dwelling unit, other improvements and real property described as:
 361 Hunterian Pl, Newnan, GA, 30265 as well as the Personal Property described on the attached
 Personal Property Addendum (collectively, the “Premises”).

 2.      LEASE TERM. The term o f t h i s A g r e e m e n t ( the “Lease Term”) shall commence on
 10/27/2022 (the “Commencement Date”) and end at 5:00 p.m. local time where the Premises are
 located (“Local Time”) on 10/26/2023. Resident shall vacate the Premises immediately upon
 termination of the Agreement unless: (a) Landlord and Resident have extended this Agreement in
 writing or signed a new rental agreement or (b) a month-to-month tenancy is created pursuant to
 Section 14.3 of this Agreement.

 3.       RENT AND SECURITY DEPOSIT.

         3.1.     SECURITY DEPOSIT. Resident’s Security Deposit is the amount set forth on Page 1 of
 this Agreement (the “Security Deposit”). The Security Deposit shall not be used by Resident in lieu
 of payment of Rent, Late Charges or other amounts owed. No interest shall be paid on the Security
 Deposit unless required by the laws of the jurisdiction in which the Premises are located (“Local
 Laws”). The Security Deposit shall be payable directly to Landlord as part of the Initial Payment (as
 defined in Section 3.3), unless required to be deposited into escrow or into a trust account pursuant to
 Local Laws, and Landlord shall comply with all Local Laws with respect to the Security Deposit.
         3.2.     RENT. The monthly rent shall be $2,114.70, plus $0.00 as Pet Rent, plus $0.00 as Other,
 for a current total of $2,114.70 (collectively, the “Rent”). Rent for any partial calendar months
 included in the Lease Term shall be prorated on a daily basis.

          3.3.     INITIAL PAYMENT. Upon Landlord’s acceptance of this Agreement, Resident shall pay
 as follows: (i) one (1) cashier’s check or money order in the amount of the prorated Rent through the first
 day of the first calendar month after the commencement date, based on the amount designated as
 “TOTAL MONTHLY RENT” on Page 1 of this Agreement (the “Initial Payment”), and (ii) one (1)
 separate cashier’s check or money order in the amount of the Security Deposit. In the event that
 Resident’s payment is dishonored for any reason, at Landlord’s option, Landlord shall be immediately
 released from all obligations under this Agreement by notice to Resident.

          3.4.        OTHER PAYMENTS. The Security Deposit and all Rent shall be paid to Landlord or such
 other agent of Landlord as Landlord may designate by written notice to Resident. Resident shall pay
 Rent in advance on the 1st of each month and Rent shall be delinquent after the 4 th of the month at 5:00
 p.m. Local Time (or after such period as specifically provided for by Local Laws) (the “Delinquent Rent
 Date”). To the extent allowed by Local Laws, monthly installments of Rent must be paid in U.S. Currency
 by t h e e l e c t r o n i c payment method provided below.

          Electronic Payment on Landlord’s Website: Subject to Local Laws, Rent may be paid directly on
          Landlord’s website. To pay Rent on Landlord’s website, log on to www.streetlanehomes.com
          and follow the instructions for paying the Rent.




Landlord Initials                                                       Resident Initials                  /
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             3.5.     LATE CHARGES AND OTHER COSTS OF LATE PAYMENT. The timely payment of
 your Rent is critical. No excuses will be accepted for non-payment including ill health, accident,
 loss of job, financial problems, family emergencies, etc. If the total Rent is not received by the
 Delinquent Rent Date of the 4th each month, Resident will be assessed a late charge of $100.00 Flat
 Amount (“Late Charge”) on the 5th. An Additional Late Charge (“Additional Late Charge”) of $15.00
 (Dollars) per day thereafter will be charged until all rent and late charges are paid in full. Additional Late
 Charges for late rent payment may not exceed 30 days. The Late Charge a n d A d d i t i o n a l L a t e
 C h a r g e s shall be payable to Landlord by cashier’s check or money order. Resident acknowledges
 that late payment of Rent may cause Landlord to incur costs and expenses, including processing,
 enforcement and accounting expenses, and charges imposed on Landlord, the exact amounts of which are
 extremely difficult and impractical to determine. Resident agrees that the Late Charge a n d
 A d d i t i o n a l L a t e C h a r g e s represents a fair and reasonable estimate of the costs Landlord may
 incur by reason of late payment.

 Resident also will pay Landlord, by cashier’s check or money order, $35.00 after the Delinquent Rent Date
 if, after the Delinquent Rent Date, Landlord serves a written notice of non-payment of Rent required by
 Local Laws.

 Landlord reserves the right to insist upon strict performance of all of the terms, conditions, and agreements
 set forth herein at any time during the Lease Term. Any failure by Landlord to insist upon strict
 compliance with such terms, conditions and agreements shall not constitute a waiver of any of
 Landlord’s rights to thereafter insist upon or enforce any such terms, conditions, and agreements, and
 such obligations shall continue in full force and effect. Landlord specifically reserves and does not waive
 the right to receive all Rent on the due date, regardless of any prior acceptance of any Rent from
 Resident after the Delinquent Rent Date. Moreover, Landlord’s acceptance of any partial payment of Rent
 or other monetary obligations does not waive Resident’s breach of any provision of this Agreement for
 which the right of re-entry is specified, nor any of Landlord’s remedies as set forth herein.

 Except as specifically allowed by Local Laws, routine repairs and maintenance that may be
 necessary at the Premises shall NOT excuse Resident from the timely payment of Rent.

         3.6.    RETURN OF PAYMENT FOR NON-SUFFICIENT FUNDS. If Resident’s payment is
 rejected for non-sufficient funds, Resident understands and agrees that, in addition to the full Rent and
 Late Charges due, there will be an additional charge in the amount of $35.00, or the maximum amount
 allowed by Local Laws. In the event that any two (2) payments of Rent during the Lease Term are
 returned due to non-sufficient funds, Resident shall be “locked out” of the online payment system and
 prohibited from making payment by personal check, and shall be required to make such payments,
 together with any and all of Resident’s outstanding balance, Late Charge, and any other amounts due to
 Landlord hereunder, by Money Order or certified Cashier’s Check, in person, at the office of the
 property manager or other Landlord representative, as designated by Landlord in connection with this
 Agreement. Only upon personal receipt by the property manager or other Landlord representative of
 such payment by Money Order or certified Cashier’s Check Shall Resident be able to make subsequent
 payments online or by personal check, as applicable.

Landlord Initials                                                        Resident Initials                  /
                                                                                                            /
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 Notwithstanding the foregoing, in the event that any three (3) payments of Rent are returned due to non-
 sufficient funds during the Lease Term, Resident acknowledges and agrees that Landlord may, in its sole
 discretion, upon notice to Resident require Resident to make all payments required hereunder for the
 remainder of the Lease Term by Money Order or certified Cashier’s Check in person at the office of
 the property manager or other Landlord representative, on or before the day and subject to the other
 payment requirements specified herein.

         3.7.     APPLICATION OF PAYMENTS. Payments received will be applied as follows: first to
 any arrears from previous month(s), then to Late Charges, legal and court costs, administrative fees,
 mailing costs or any other miscellaneous charges owed, and the remainder will then be applied to the
 Rent for the current month.

         3.8.    RENTAL INCREASE UPON RENEWAL. In the event this Agreement is renewed, Resident
 agrees that the Rent may be renegotiated. In the event that the Lease Term under this Agreement is
 for longer than one (1) calendar year, Resident acknowledges and agrees that Rent shall be increased,
 in Landlord’s sole discretion subject to Local Laws, beginning on the first day after the end of one (1)
 calendar year. Resident shall, if required by Landlord, enter into a separate Addendum to this Agreement
 commemorating any applicable Rent increase.

         3.9      RENTAL INCREASE PER RESIDENT. The Premises will be used only as living quarters for
 the persons named as Residents. Unless prior written approval is received from Landlord, $100.00
 additional Rent per person will be due each month for any other persons occupying the Premises other
 than those listed above. Resident will be charged this additional amount retroactive to the day the
 additional Resident first occupied the Premises. Furthermore, occupancy by any such other person
 without Landlord’s prior written approval shall constitute a default of this Agreement by Resident. This
 provision shall not apply to children born to or adopted by Resident during the Lease Term.

         3.10. PET RENT. To the extent permitted by Local Laws, fees and/or Pet Rent due pursuant to
 the Pet Addendum shall be paid separately from Rent and all other payments due to Landlord and
 paid by the same method as Rent, pursuant to Section 3.4 of this Agreement.

         3.11. FAILURE TO PAY RENT. Resident’s failure to pay any installment of Rent or other
 monetary obligations due hereunder is a default under this Agreement. In that event, Landlord,
 without limiting any of its other rights and remedies, may, with or without notice to Resident, (a)
 terminate Resident’s occupancy, subject to Local Laws; (b) commence eviction proceedings in accordance
 with Local Laws; and (c) withhold any Rent due from Resident’s Security Deposit, and to the fullest
 extent permitted by Local Laws, Resident shall continue to be liable for Rent and other charges payable
 hereunder for the remainder of the Lease Term.




Landlord Initials                                                       Resident Initials                  /
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 4.       MOVE-IN/MOVE-OUT.

         4.1.      MOVE-IN. Resident must list any pre-existing defective conditions and items needing
 repair on the Resident Move-In/Move-Out Condition Assessment Form accessible on the web
 portal www.streetlanehomes.com completed on-line within 72 hours of Resident’s move-in.
 Except as noted on that form, Resident accepts the Premises in the current “AS IS” condition and
 warrants that Resident has been given adequate opportunity to fully inspect the Premises and that
 Resident accepts the Premises, together with ALL furnishings, if applicable as being in good condition.
 Only items listed in that form shall be accepted as defective, missing or in need of remedial action. The
 absence of such notice shall be conclusive proof that there is no defective or hazardous equipment or
 conditions existing as of the start of the tenancy. Only after this Resident Move-In/Move-Out Condition
 Assessment Form has been completed on-line, within the above 72-hour time limit, will necessary
 action be initiated to make any needed repairs. Any defects noted after the first 72 hours will be presumed
 to have been caused by Resident

 Landlord makes absolutely no warranties or representations about the neighborhood or the condition
 of the Premises, the improvements, utilities, electrical, plumbing, appliances. Landlord shall not be
 responsible for loss or damage caused by failure of any appliance (including loss of or damage to food
 or other perishables) in the event an appliance ceases to operate properly. Resident must satisfy
 himself or herself prior to move-in as to the neighborhood or area conditions, including schools,
 proximity and adequacy of law enforcement, crime statistics, proximity of registered felons and other
 offenders, fire protection, other governmental services, availability, adequacy and cost of any wired
 and/or wireless internet connections, other telecommunications or other technology services and
 installations, proximity to commercial, industrial or agricultural activities, existing and proposed
 transportation, construction and development that may affect noise, view, or traffic, airport noise,
 noise or odor from any source, wild and domestic animals, other nuisances, hazards, or
 circumstances, cemeteries, facilities and condition of common areas, conditions and influences of
 significance to certain cultures and/or religions, and personal needs, requirements and preferences of
 Resident.

         4.2.     MOVE-OUT. Upon vacating the Premises, Resident shall remove all personal
 possessions and rubbish, steam clean all floors in the dwelling unit, and leave the Premises in “broom
 clean” condition, in as good or better state than when the Premises were originally rented by Resident.
 Landlord will utilize the R e s i d e n t M o v e - I n / M o v e - O u t C o n d i t i o n A s s e s s m e n t F o r m to
 determine if any damage or wear in excess of normal expected wear was caused by Resident and, if
 so, Landlord shall be entitled to apply any or all of the Security Deposit toward necessary repairs and
 maintenance. Resident also shall return all keys and garage door openers, if applicable, and shall
 provide Landlord with a written statement of forwarding address. Within the time required by Local
 Laws, Landlord will give to Resident an itemized written statement of any amounts deducted and the
 reasons for the deductions from Resident's Security Deposit, along with a check for any balance of
 the Security Deposit due to Resident. Landlord may deliver the written statement and balance of the
 Security Deposit personally to Resident, or by mailing the statement and balance of the Security Deposit
 to Resident at Resident’s forwarding address, or if

Landlord Initials                                                          Resident Initials                  /
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 that address is unknown at Resident’s last known address. No portion of the Security Deposit shall be
 retained for normal wear and tear on the Premises.

 5.       USE. Resident agrees that, subject to Local Laws, the Premises will not be used as a business,
 including a day care or babysitting business, and that the maximum occupancy per bedroom shall be
 limited to two individuals. Occupants of the Premises who are not named as Resident herein are identified
 as follows:


 6.       NOTICES. Notice to Landlord or Landlord’s agent shall be delivered personally by hand, or by
 first class U.S. mail or express or overnight delivery at Landlord’s office, which office address is subject
 to change by written notice. Notice to Resident shall be delivered to the Premises. All notices under this
 Agreement shall be in writing in the English language.

 Landlord and Resident agree that the transaction contemplated by this Agreement or any related
 transaction between the parties may be conducted by electronic/digital signatures in accordance with the
 Uniform Electronic Transactions Act. Resident acknowledges that notices to Resident may be delivered
 electronically, including via facsimile or electronic mail (email), subject to Local Laws. Notwithstanding
 the foregoing, Resident may at any time request a physical (non-electronic) copy of this Agreement or of
 the applicable Local Laws governing this Agreement.

  7.        KEYS & LOCKS. Resident shall not change or add locks without written permission from Landlord.
  After consent is granted, Resident shall immediately provide LANDLORD with duplicate keys. In the event
  Resident changes the lock to the residence without permission from the LANDLORD, any damages that may
  result to the premises as the result of Landlord not being able to gain access to the premises shall be borne
  by Resident. Resident shall be liable for replacement cost should any lock be removed. Upon termination
  of this lease, Resident shall surrender to Landlord all keys to the premises.

  8.       COMPLIANCE WITH RULES AND REGULATIONS. Available in the Resident portal, is a copy of
  the current “Resident Handbook.” Resident agrees to comply with all of the current rules and regulations,
  as defined in the Resident Handbook and which Landlord may adopt for the general benefit of all Resident
  in Premises. Any violation of these rules, or any one of them, shall be cause for termination of this
  agreement at the option of the LANDLORD. As rules and regulations change, Resident shall be provided
  with written notice of said change (Notices shall also be provided by other means such as web-site postings
  and bulletin boards throughout the base). Resident shall be bound by new rules and regulations within
  seventy-two (72) hours of receipt. Resident specifically agrees to the attached Rules and Regulations.


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 9.         PROHIBITED ACTIVITY. Resident, any member(s) of Resident's household, a guest or any other
 person affiliated with Resident, at or near the Premises shall not (a) engage in criminal activity on or
 near the Premises, including drug-related criminal activity (which means the illegal manufacture, sale,
 distribution, use or possession with intent to manufacture, sell, distribute, or use a controlled substance);
 (b) engage in any act intended to facilitate criminal activity, including drug-related criminal activity, on
 or near the Premises; (c) permit the Premises to be used for or to facilitate criminal activity, including
 drug-related criminal activity, regardless of whether the individual engaging in such activity is a member
 of the household or a guest; (d) engage in growing, producing, manufacturing, selling, using, storing,
 keeping, distributing or giving marijuana or any controlled substance (legal or illegal) at or from the
 Premises or otherwise; or (e) engage in any illegal activity, including prostitution, criminal street gang
 activity, threatening or intimidating assault, including the unlawful discharge of firearms, on or near the
 Premises, or the health, safety and/or welfare of Landlord, its agents, other Residents, neighbors or
 imminent serious damage to the property of any of them.

 VIOLATION OF ANY OF THE PROVISIONS OF THIS SECTION, OR OF ANY FEDERAL OR LOCAL LAWS,
 SHALL BE A SERIOUS, MATERIAL AND IRREPARABLE VIOLATION OF THIS AGREEMENT AND GOOD
 CAUSE FOR IMMEDIATE TERMINATION OF THE TENANCY.

 Unless otherwise prohibited by law, proof of violation shall not require criminal conviction, but shall be
 by a preponderance of the evidence.

 10.     MAINTENANCE.

         10.1 MAJOR REPAIRS. Maintenance and repairs of items that significantly impact habitability of
 the Premises as determined by Landlord in its sole and absolute discretion or by the Local Laws, shall be
 deemed “Major Repairs.” Landlord shall be responsible for Major Repairs, including repairs to the
 building structure, foundation, heating and air conditioning systems, roofing, mechanical, electrical, and
 plumbing systems.

 Landlord may, at Landlord’s sole discretion, hire contractors to perform maintenance or repairs at the
 Premises; however, no contractor shall be considered an employee of Landlord. Resident shall notify
 Landlord promptly if any contractor fails to perform requested maintenance or repairs. Notification to a
 contractor of any further maintenance or repair request beyond that communicated to Landlord does
 not constitute sufficient notice to Landlord, and Resident agrees to make all maintenance and repair
 requests directly to Landlord in writing.

         10.2. RESIDENTS REPAIR OBLIGATIONS. Resident shall be responsible for immediately
 providing notice to Landlord of any repairs that it believes should be considered to be Major Repairs
 and shall be charged and responsible for all damage to the Premises as a result of failure to do so. In the
 event Landlord determines, in its sole and absolute discretion, that any Major Repair is necessary as a
 result of an act or omission of Resident, Landlord shall have the right to charge Resident for the
 reasonable cost of the Major Repair as additional rent, subject to Local Laws.




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 Resident, at its sole cost and expense, shall be responsible for the performance of all maintenance and
 repairs in, around, and of the Premises that do not constitute a Major Repair and are not Landlord’s
 obligation pursuant to Local Laws, including maintaining the Premises in a clean, sanitary condition;
 routine insect control; replacement of light bulbs and smoke alarm batteries as needed; replacement of
 air filters no less frequently than once every thirty (30) days; maintenance of exterior landscaping,
 including trees, grass, and shrubs, and the proper disposal of all clippings and waste (unless other
 specific requirements are imposed by the applicable HOA, as defined in Section 29 hereof), unless
 otherwise agreed between Landlord and Resident pursuant to a separate Landscaping Addendum;
 maintenance and repairs of irrigation valves, lines, sprinklers and drip systems, unless otherwise agreed
 between Landlord and Resident pursuant to a separate Landscaping Addendum; maintenance and
 repairs of equipment and appliances at the Premises, except to the extent Local Laws require Landlord
 to do so; repair and maintenance of all sewer and sink backups or blockages (provided, however, that
 Landlord shall be responsible for such repair and maintenance of sewer and sink backups and blockages
 for the first thirty (30) days following the Commencement Date); repair or replacement of any broken
 glass, regardless of cause, to the extent that Local Laws do not require Landlord to do so; and all
 repairs or replacements necessitated by Resident or Resident’s family, pets or guests, excluding ordinary
 wear and tear. Any damage to the Premises caused by Resident’s pets shall not be considered normal
 wear and tear.

 In addition, Resident, at its sole cost and expense, shall be responsible for installation and
 maintenance of any items required for the protection of the Premises against extreme weather conditions,
 storms, and natural disasters. Resident agrees to protect pipes and water fixtures against freezing. If an
 official hurricane “warning” is issued, Resident also agrees to install hurricane shutters and prepare the
 Premises for a hurricane and to remove such protections when such warning is lifted or expires.

 Other than as specifically outlined herein, Resident will not make any alterations, or improvements in
 or about the Premises, including painting, wallpapering, adding or changing locks, installing antenna or
 satellite dish(es), placing signs, displays or exhibits, without the prior written consent of Landlord.
 Resident also is required to obtain any and all necessary permits required by Local Laws before
 commencing a Landlord-approved improvement.

Any work performed on the Premises whether by Resident or other parties shall be as an independent
contractor or agent of Resident and not an employee or agent of Landlord. Resident further warrants that
he or she will be accountable for any mishaps and/or accidents resulting from such work and will
defend, indemnify, and hold harmless Landlord and Landlord's agents for, from and against all claims,
losses and damages including mechanics and other liens. At Landlord’s election, all improvements to the
Premises shall be the property of Landlord and shall remain attached to and be a part of the Premises
when Resident vacates, subject to Local Laws.




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  11.     MOLD.

 Mold consists of naturally occurring microscopic organisms which reproduce by spores. The mold spores
 spread through the air and the combination of excessive moisture and organic matter allows for mold
 growth. Reducing moisture and proper housekeeping significantly reduces the chance of mold and mold
 growth. Resident agrees to maintain the Premises free of dirt, debris and moisture that can harbor mold.
 Resident shall, at its sole cost and expense, (a) clean any mildew or mold that appears with an appropriate
 cleaner designed to kill mold; (b) clean and dry any visible moisture on windows, walls and other
 surfaces, including personal property as quickly as possible; (c) use all air-conditioning, if provided, in a
 reasonable manner and use heating systems in moderation; (d) keep the Premises properly ventilated by
 periodically opening windows to allow circulation of fresh air during dry weather only; (e) use reasonable
 care to close all windows and other openings in the Premises to prevent water from entering the
 Premises; (f) use exhaust fans, if any, in the bathroom(s) and kitchen while using those facilities and
 notify Landlord of any inoperative exhaust fans; (g) hang shower curtain inside bathtub when showering
 and only shower in bathtub; (h) immediately notify Landlord of any water intrusion, including roof or
 plumbing leaks, drips or “sweating” pipes; (i) immediately notify Landlord of overflows from bathroom,
 kitchen or laundry facilities; (j) immediately notify Landlord of any significant mold growth on surfaces in
 the Premises; (k) not leave clothes, towels, laundry, or other items comprised of fabric in wet or damp
 piles for an extended period of time; and (l) allow Landlord, with appropriate notice, to enter the
 Premises to make inspections regarding mold and ventilation.

 Landlord reserves the right to terminate the tenancy and Resident agrees to vacate the Premises in the
 event Landlord in its sole judgment feels that either there is mold or mildew present in the dwelling unit
 which may pose a safety or health hazard to Resident or other persons and/or Resident’s actions or
 inactions are causing a condition which is conducive to mold growth. Resident acknowledges and agrees
 that Landlord and Landlord’s employees, agents, successors, and assignees will not be responsible for
 damages or losses due to mold growth to the extent resulting from Resident, members of Resident’s
 household or Resident’s guests or invitee’s failure to comply with these requirements.

Resident(s)                     /                  /                 /                 /                 /
Initials

 Resident agrees by initials below that in the event the premises has a basement and / or garage, such space is
 not included in the rentable space, not included in any rental amount, and should not be considered living
 space. Any use of the basement and / or garage shall be at the Resident’s own risk. Moreover, items stored in
 these areas may be susceptible to damage from rain, ground water, or other moisture. Resident agrees to be
 responsible for maintaining these areas properly, including using a dehumidifier in basement areas to
 minimize the moisture and clean up any water infiltration that might occur. Resident agrees to keep any floor
 and landscape drains free of trash, leaves, and / or debris.

 Resident has 72 hours to submit the on-line Move-In/Move-Out Condition Assessment Form provided on the
 web portal and document any evidence of moisture or organic (mold / mildew) growth.




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 12.     PEST CONTROL

          12.1. PEST CONTROL. Except as provided below in Section 12.2, Resident, at its sole cost and
 expense, shall be responsible for all pest control. Subject to Local Laws, Landlord shall have no
 responsibility for any damage done to Resident or any other person or property at the Premises as a
 result of pests or pest control treatment.

 Resident must notify Landlord in writing within one (1) week of the date of this Agreement of any
 suspected pest infestation. Within thirty (30) days of such notice, Landlord shall arrange for treatment of
 the Premises a maximum of two (2) times at no cost to Resident. Resident hereby accepts and
 assumes all responsibility for all pest control thereafter, subject to Local Laws.

         12.2. BEDBUGS. “Bedbug” is the name given to a parasitic insect that feeds on the blood of
 warm-blooded animals, including humans. More information is available at the website for the
 U.S. Centers for Disease Control: www.cdc.gov/nceh/ehs/topics/bedbugs.htm Landlord has no knowledge
 of any bedbug infestation or presence in the Premises.

 It is unlawful and a material breach of this Agreement for Resident to allow any materials that are
 infested with bedbugs to be brought to the Premises. To reduce the risk of bedbugs Resident should: (a)
 avoid used furniture, clothing, bedding (including mattresses) and luggage; (b) completely encase in a
 zippered cover any used mattress brought to the Premises; (c) carefully inspect and clean any luggage
 used in traveling or brought to the Premises by guests; and (d) avoid sharing vacuum cleaners with
 others and regularly empty and/or replace vacuum cleaner bags or canisters.

 In the event of an actual or suspected bedbug infestation, Resident shall provide Landlord with written
 notice within ten (10) days of Resident’s discovery or suspicion of same. Failure to notify Landlord in
 writing within such 10-day period shall constitute a waiver by Resident of any claim against Landlord
 associated with any such infestation, and treatment thereof shall be Resident’s sole responsibility. If
 bedbugs are suspected or discovered in the Premises after Resident takes possession, Resident and
 Landlord will fully cooperate in the treatment of the bedbugs. Resident agrees that Landlord may
 access the Premises without notice or consent at all reasonable times in order to inspect for bedbugs if
 Resident has provided notice of bedbugs or if Landlord has reason to believe that bedbugs may be
 present in the Premises. Moreover, if Resident knowingly brings items into the dwelling unit that contain
 bedbugs, fails to take reasonable precautions to avoid bringing bedbugs into the dwelling unit, fails to
 provide notice to Landlord of the presence or suspected presence of bedbugs within 48 hours of when
 evidence of bedbugs is discovered, or fails to fully cooperate in the inspection or treatment of the
 Premises when bedbugs are reasonably suspected, Landlord may consider such as a material breach of
 this Agreement and terminate this Agreement upon notice to Resident and in accordance with the Local
 Laws. If it is determined, in Landlord’s sole and absolute discretion, that the presence of bedbugs is a
 result of Resident’s failure to comply with the terms of this Section, Resident shall be liable for the cost
 of treatment and, in any event, Resident shall be liable for any cost incurred if after notice Resident
 does not make the Premises available and ready for treatment, including taking any necessary pre-
 treatment action, or does not follow any post-treatment instructions. Resident agrees that Resident and all
 other occupants, guests and animals may be required to vacate the Premises during treatment. Further, if
 Resident’s failure to notify Landlord of the presence or suspected presence of bedbugs or failure to fully
 cooperate in the treatment of bedbugs’ results in the return of bedbugs to the Premises or the spread of
 bedbugs to other properties, Resident shall be liable for all damages that result.




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 13.      ALARM SYSTEMS. Resident may arrange for the installation of an alarm system (the “Alarm
 System”) at the Premises, subject to the following: (a) Resident shall engage a reputable, licensed and
 bonded security company for the installation of the Alarm System and for the provision of the
 resulting security service; (b) Resident shall be solely responsible for the full cost of the Alarm
 System, including all installation, service, and maintenance fees; (c) Resident shall reimburse
 Landlord, immediately upon demand, for any amounts expended by Landlord in connection with
 Resident’s default under Resident’s agreement with its Alarm System provider, provided however
 that Landlord shall not be a party to any such agreement and shall bear absolutely no liability
 thereunder; and (d) upon the expiration or earlier termination of this Agreement, Resident shall cause
 all components of any Alarm System to be removed, shall cancel the service, and shall restore the
 Premises to at least as good a condition as prior to the installation of the Alarm System.

 14.     TERMINATION.

          14.1. RESIDENT BREACH. In the event of a breach of this Agreement by Resident prior to
 completion of the Lease Term, Resident shall be responsible for lost Rent and the costs and expenses of
 re-letting the Premises to the full extent allowed by Local Laws. Resident and Landlord agree that it would
 be difficult to determine the cost of re-letting the Premises and, therefore, in the event of such
 termination by Resident, Landlord shall be entitled, subject to any limitations imposed by Local Laws,
 to receive the balance of all Rent due for the remainder of the Lease Term, plus one additional month’s
 Rent, as liquidated damages and may withhold all of these amounts from the Security Deposit.

         14.2. NOTICE TO VACATE. At least thirty (30) days prior to the end of the Lease
 Term, Resident shall provide written notice to Landlord of Resident’s intention to either (a) vacate
 the Premises at the end of the Lease Term, or (b) enter into a new Rental Agreement for an
 additional one (1) year term. If such notice is not timely given at least 30 days prior to the end
 of the Lease Term, Resident shall vacate the Premises promptly at the end of the Lease Term, in
 accordance with the terms and provisions hereof.

         14.3. HOLDOVER. Subject to Local Laws, in the event that Resident holds over the Premises
 after the Lease Term, the same shall be deemed to be month-to-month tenancy, with an increase of
 twenty percent (20%) in the monthly rent due from the preceding month, and all other provisions of
 this Agreement, including the provision requiring at least sixty (60) days’ notice of Resident's intention to
 vacate shall remain in effect.


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          14.4. ABANDONMENT. Formal written notice, with provision for timely Rent payment, is
 required if there will be an intended absence by Resident. If the dwelling unit appears to be unoccupied
 for fifteen (15) days while Rent is due and unpaid, or for such time as specified by Local Laws and
 Resident has not given Landlord written notice of Resident's intention to remain, then Landlord is
 authorized to deem the Premises abandoned, to take immediate possession of the Premises, and to store,
 dispose of, or otherwise handle Resident’s personal property subject to Local Laws. Resident herein
 gives Landlord specific authority, without recourse and without limitation of Landlord’s other remedies,
 to dispose of abandoned personal property in any manner Landlord chooses that does not violate Local
 Laws, with no recourse whatsoever on the part of Resident.

         14.5. OTHER TERMINATION. This Agreement may be subject to immediate termination for
 certain acts as provided by Local Laws, including any act that jeopardizes the health, safety or welfare
 of Landlord, any agent or employee of Landlord, or another Resident, or which involves imminent or actual
 severe personal injury or property damage.

 15.      TENANT ESTOPPEL CERTIFICATES. Upon Landlord’s request, Resident shall execute and
 return a tenant estoppel certificate delivered to Resident within three (3) days after its receipt.
 Failure to comply with this requirement shall be deemed Resident’s acknowledgment that the certificate
 is true and correct and may be relied upon by a lender or purchaser.

 16.      ASSIGNMENT. Resident shall not assign this Agreement or sublet the Premises or any part
 thereof, and shall not allow any person to occupy the same other than persons to whom the Premises
 is rented under this Agreement without prior written consent of Landlord, in its sole and absolute
 discretion. Landlord may assign this Agreement at Landlord's sole and absolute discretion to any affiliate
 or related company of Landlord or to any other assignee without the consent of, or prior notice to,
 Resident.

 17.      ACCESS. Subject to Local Laws, Resident shall allow Landlord access at all reasonable times to the
 Premises for the purpose of inspection, to make repairs that have been requested by Resident, or to
 show the Premises to prospective purchasers or mortgagees or to any other person having a legitimate
 interest therein, or to make necessary repairs or improvements. If practicable to do so, Landlord shall
 give Resident reasonable notice prior to entering the Premises for routine situations requiring access.
 Resident agrees that in case of emergency or apparent abandonment, Landlord may enter the Premises
 without notice to or consent of Resident. Resident authorizes Landlord to place for sale/lease signs on
 the Premises without notice.

 18.      ATTORNEY’S FEES/LEGAL COSTS. If Resident occupies the Premises after being in default or
 after being served for eviction or with notice of termination, Resident agrees to reimburse
 Landlord/Agent for actual costs incurred to enforce collection of rents, to serve notices, for filing fees,
 etc., including filing fees, costs of collectors, deputies, marshals, police constables, etc., prior to
 regaining entry or reinstatement of Resident’s status as Resident, to the full extent permitted by Local
 Laws. In any action or proceeding arising out of this Agreement, the prevailing party shall be entitled
 to reasonable attorneys’ fees and costs, in addition to other damages awarded, so long as such award is
 permitted under Local Laws.


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 19.     LIABILITY. To the full extent permitted under Local Laws, (a) Landlord and Resident agree
 that Landlord will not be liable for any damages or losses to person or property caused by other
 residents, or persons, theft, burglary, vandalism, or other crimes; (b) Landlord shall have no duty to
 furnish alarms of any kind, security guards, or additional locks and latches and Resident shall not
 make any changes or additions to the existing locks for any reason without Landlord's prior written
 consent to do so; and (c) Resident shall indemnify and hold harmless Landlord and Landlord’s agents,
 employees, lenders, and affiliates, for, from and against any and all claims, liabilities, damages, costs or
 expenses that arise from or are caused by Resident’s use or occupancy of the Premises except to the
 extent arising from the sole negligence or willful misconduct of Landlord, its agents, contractors or
 employees.

 20.    POSSESSION. If Landlord is unable to deliver possession of the Premises within seven (7) days
 of the Commencement Date stated above, then this Agreement may be terminated at Landlord’s
 option and all funds received from Resident will be returned. Resident agrees to release and hold
 Landlord and its agents and representatives harmless from any further obligation and/or consequential
 damages.

 21.      SEVERABILITY/VALIDITY OF PROVISIONS. In the event any portion of this Agreement shall
 be invalid under Local Laws, the remaining provisions shall continue to be valid and subject to
 enforcement in a court of competent jurisdiction. In like manner, any obligations of either Landlord or
 Landlord’s agent or of Resident which may become required by Local Laws during the term of this
 Agreement shall be binding as if included herein. All rights granted to Landlord or Landlord’s agent
 by Resident shall be cumulative and in addition to any existing law and any new law which might
 become effective. Any exercise, or failure to exercise, by Landlord or Landlord’s agent of any right shall
 not act as a waiver of any other rights.

 22.      JOINT AND SEVERAL LIABILITIES. Each Resident signing this Agreement is liable for the full
 amount of any and all financial obligations, and all Residents are jointly and severally liable for any and
 all financial and other obligations.

 23.      RESIDENT’S WARRANTIES. By signing this Agreement, each Resident stipulates and warrants
 (a) all of his or her questions have been answered and that Resident thoroughly understands all
 provisions as to the rights, duties, and obligations of all parties; (b) at the time of Resident’s entry
 hereinto, Resident is not subject to any bankruptcy proceedings and Resident is not contemplating
 bankruptcy; and (c) Resident has the legal right to bind all occupants and to sign for them in
 committing Resident and them to this Agreement. Further, Resident promises and agrees to pay the
 Rent on time, maintain the Premises, and fulfill all of Resident’s obligations hereunder or face the full
 financial and legal consequences of default and termination.

 24.     LICENSEE DISCLOSURES. Resident agrees and understands that agents of and representatives
 of Landlord are licensed real estate brokers or sales persons and that they are not acting as Resident’s
 agent in this transaction and are acting solely for Landlord’s own benefit. Resident agrees to hold
 Landlord free from any and all liability regarding the Premises and transaction arising from any claim
 of agency.




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 25.      DEFAULT. Resident understands and agrees that each of the obligations imposed by this
 Agreement shall be regarded as material in nature, and violation of any one of such obligations shall
 entitle Landlord to exercise those remedies provided by Local Laws, herein or, in any separate document
 entered into between Landlord and Resident whether such document is incorporated herein or not. In the
 event of any material breach of this Agreement, or in the event of the nonpayment of any sum designated
 herein as Rent when such sum is due, Landlord shall be entitled, but not obligated, to terminate this
 Agreement, with or without notice to Resident.


 26.      NO SMOKING. No smoking of any substance (including but not limited to tobacco, marijuana,
 or e-cigarettes) is allowed inside the home or on and portion of the Premises. If smoking does occur at
 the Premises, (a) Resident is in breach of this Agreement; (b) Resident is responsible for all damage
 caused by the smoking including stains, burns, odors and removal of debris; (c) Resident, guests, and
 all others may be required to leave the Premises; and (d) Resident acknowledges that in order to remove
 odor caused by smoking, Landlord may need to replace carpet and drapes and paint the entire home
 (including the ceilings) regardless of when these items were last cleaned, replaced, or repainted, and/or
 make other repairs or replacements at the Premises, and that costs incurred will be deducted from the
 Security Deposit.
 27.      POOL. If the Premises has a swimming pool, spa or hot tub, Resident agrees to the following:

     a. Resident and Resident’s guests will use the swimming pool, spa and/or hot tub at their own risk.
        Landlord will not be responsible for any injuries sustained by Resident, and/or Resident’s
        occupants or guests when using the swimming pool, or spa and/or hot tub. Resident shall release,
        hold harmless, indemnify and defend Landlord for any and all injuries, claims and damages
        arising out of the use and enjoyment of the pool, spa and/or hot tub during the Lease Term.

     b. Resident acknowledges that any swimming pool on the Premises either (i) has a fence, gate, or
        similar barrier (collectively, “Pool Fence”) as of the Commencement Date, or (ii) will have a
        Pool Fence installed by a contractor engaged by Landlord, in which event Resident agrees to
        allow such contractor reasonable access to the Premises for the installation of such Pool
        Fence.

     c.   Resident agrees to provide access, upon reasonable notice, to Landlord and/or agents of
          Landlord for the purposes of inspecting, maintaining, and repairing, as and when Landlord may
          deem necessary, the swimming pool, Pool Fence, spa and/or hot tub.

     d. Resident must operate the swimming pool, spa and/or hot tub according to the manufacturer’s
        instructions, and must use the Pool Fence in a reasonable, good faith manner so as not to limit or
        jeopardize the efficacy of such Pool Fence. L andlord is responsible for the general maintenance of
        the swimming pool, spa and/or hot tub, and Pool Fence, and Resident shall not add any
        chemicals to the swimming pool, spa and/or hot tub or make any modifications whatsoever to
        the Pool Fence. Resident is responsible for the full cost that may be due for repair and/or
        replacement of the swimming pool, spa and/or hot tub, and Pool Fence that may be required as
        a result of negligence or misuse by the Resident or Resident’s occupants or guests.




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     a. No pets of any kind are permitted in any swimming pool, spa or hot tub at any time.

     b. No children under 18 years of age shall swim or sit in the swimming pool, spa or hot tub
        without continuous adult supervision.

     c.   A swimming pool, spa and/or hot tub, and Pool Fence is strictly an amenity, and the use of any
          such amenity is not guaranteed under the terms of this Agreement. Any interruption or non-
          availability of the use of any such amenity will not violate any terms of this Agreement.

     d. Resident acknowledges and accepts the inherent risks, dangers, and liabilities arising from any
        swimming pool, spa and/or hot tub at the Premises. Resident shall be solely responsible for
        properly utilizing the Pool Fence and for otherwise properly securing access to any pool, spa
        and/or hot tub at the Premises, and accepts full responsibility for the actions, activities, and
        inactivities of Resident’s guests, family, and friends.

     e.   Resident agrees to notify Landlord immediately in the event repair or maintenance to the Pool
          Fence is required. Landlord shall have no liability whatsoever for Resident’s failure to use or
          misuse of the Pool Fence, or of Resident’s failure to timely notify Landlord of any required
          repair or maintenance thereto.

 28.      HOA. If applicable, the monthly assessments arising from any homeowners’ association that
 relates to the Premises (“HOA”) shall be paid directly by Landlord and are included in the Rent. To the
 extent Landlord has provided via website link access the HOA Governing Documents to Resident,
 Resident hereby represents and warrants to Landlord that Resident (a) has reviewed and will comply
 with all applicable HOA Governing Documents and other instruments of record; (b) shall comply with
 all requirements, obligations and conditions of any senior interest holder such as Landlord’s lender’s;
 (c) shall not disturb, annoy, or endanger other neighbors or use the Premises for unlawful purposes;
 (d) shall comply with all federal, state and Local Laws; (e) shall provide prompt written notice to
 Landlord if it receives any notice of violation of any laws or HOA Governing Documents; (f) shall have
 no voting rights in the HOA; (g) shall reimburse Landlord for any fines or charges imposed by the HOA
 as a result of Resident’s violation or failure to comply with any of the applicable HOA Governing
 Documents and other instruments of record; and (h) specifically authorizes Landlord to charge
 Resident for all fines and charges incurred as a result of Resident’s violation or failure to comply with
 any of the applicable HOA Governing Documents and other instruments of record as additional rent;
 and, in Landlord’s sole discretion and upon demand by Landlord, (i) shall additionally pay to Landlord
 for each such violation or failure to comply an administrative fee in the greater amount of (I) 10% of
 any fine or charge imposed by the HOA, (II) $25, or (III) the maximum amount permitted by Local
 Laws. Resident acknowledges and agrees that all rights and obligations of the HOA are derived from
 the applicable HOA Governing Documents.

 29.     DAYS. All references to days in this Agreement shall be construed as calendar days and a day
 shall begin at 12:00 a.m. and end at 11:59 p.m. local time where the Premises are located.




Landlord Initials                                                        Resident Initials                  /
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 30.     SUBORDINATION/MORTGAGEE PROTECTION. This Agreement is and shall be subordinate to
 any mortgages that are now or may hereafter be placed upon the Premises and to any and all advances
 to be made thereunder and all renewals, replacements and extensions thereof. Resident shall not cause
 or permit anything to be done that violates any mortgage on the Premises. Resident agrees to sign any
 document reasonably requested by Landlord’s lender in connection with a mortgage on the Premises,
 including a Subordination, Non-Disturbance and Attornment Agreement in a form satisfactory to
 Landlord’s lender.

 31.      FORCE MAJEURE. Any delay or failure in the performance by Landlord hereunder shall be
 excused if and to the extent caused by the occurrence of any event that is beyond Landlord’s control, such
 as fires, floods, earthquakes, wars, sabotage, terrorism, vandalism, governmental acts, injunctions, or
 labor strikes, acts of God and any other occurrences that are unavoidable or unpreventable despite
 reasonable efforts to prevent, avoid, delay, or mitigate the effects thereof.

 32.      DAMAGE TO THE PREMISES. If, through no fault of Resident, the Premises are completely or
 partially damaged or destroyed by fire, earthquake, accident, or other casualty that renders the
 Premises totally or partially uninhabitable, as determined by Landlord based on conditions that
 Landlord deems unsafe or unsanitary, or by a municipal official, then Landlord may relocate Resident
 to a comparable property within a reasonable distance of the Premises, and the terms and conditions of
 this Agreement shall apply thereto. If no such comparable property is available, then at Landlord’s sole
 option, Landlord may, subject to Local Laws, either (a) terminate this Agreement by giving Resident
 written notice, in which case Rent shall be abated as of the date the Premises becomes totally or
 partially uninhabitable, and the abated amount shall be the current monthly Rent prorated for that
 particular calendar month; or (b) promptly repair the damage, in which case during the time required for
 repairs, Landlord may, at Landlord’s sole discretion and subject to Local Laws, either (i) pay reasonable
 costs for temporary housing for the Resident in an extended-stay hotel and meals in an aggregate amount
 not to exceed 150% of Resident’s daily Rent until the repairs are substantially completed and Resident can
 reasonably resume use and occupancy of the Premises, provided, however, that Resident shall continue
 to pay the full amount of Resident’s Rent as required hereunder, or (ii) reduce Resident’s Rent based
 on the extent to which the damage interferes with Resident’s reasonable use of the Premises. If damage
 occurs as a result of an act of Resident or a guest of Resident, only Landlord shall have the right of
 termination, and no reduction in Rent shall be made.

 33.     THIRD PARTY DISCLOSURE. Unless required by law, Landlord shall not be obligated to
 provide any party with information with respect to this Agreement or the Premises other than the
 undersigned Resident or such Resident’s permitted assignee or sublessee pursuant to this Agreement.

 34.      CONSENT. Except where expressly stated in this Agreement to the contrary, in all instances
 where Landlord's permission, consent or approval is required hereby, or where Landlord is entitled to use
 its discretion or exercise its judgment, Landlord shall be entitled to grant or withhold such consent or
 approval, and to exercise its discretion, in Landlord's sole, absolute and unfettered discretion.




Landlord Initials                                                       Resident Initials                  /
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  35.     TIME OF THE ESSENCE: Resident acknowledges and agrees that time is of the essence in all
  provisions of this Agreement and all addenda hereto.

  36.      ATTACHMENTS AND ADDENDA TO THE AGREEMENT. Resident certifies that he/she has
  received a copy of this Agreement and the following attachments and addenda, and understands that
  these attachments and addenda are incorporated into and form a part of this Agreement:

     Landlord Rules and Regulations
     Utility Service Addendum
     Lead Based Paint Disclosure Addendum
     Insurance Addendum
     Landscaping Addendum
     Method of Rent Payment Addendum
     Pet Addendum
     Resident Handbook

Resident(s)                     /                  /                 /                 /                 /
Initials

  37.     GUARANTY. If Resident is approved for occupancy of the Premises on condition of securing a
   guarantor for Resident’s obligations under this Agreement, Resident shall cause such guarantor to
   execute a Rental Agreement Guaranty. Resident acknowledges and agrees that, if a guarantor is
   required, this Agreement shall not be effective until such time as Landlord has received a signed Rental
   Agreement Guaranty and has approved the guarantor thereunder.

  38.    INTERPRETATION. The terms “includes” or “including” shall be construed as if followed by the
  words “without limitation.”

  39.      ADDITIONAL TERMS. Landlord and Resident agree and warrant that there are no oral
  promises, conditions, representations, understandings, interpretations or terms of any kind as conditions
  or inducements to the execution hereof or in effect between the parties that are not also in this
  Agreement.
  40.      MILITARY AGREEMENT. Should the Resident receive notice of Permanent Change of Station Orders
  (PCS) requiring Resident to vacate said premises and otherwise leave the area outside a fifty-mile radius, and
  can produce printed verification of said Orders, Resident must notify Landlord, in writing, at least one full
  rental month prior to vacating the premises. A rental month constitutes from the first day of a month to the
  last day of a month. The foregoing does not waive entitlement to the last month’s rent, nor shall the last
  month be prorated, but the Resident shall owe a full month’s rent after having given the rental months’ notice
  as set forth above. If these conditions are met completely by the Resident, then the Landlord will waive the
  remaining term of the lease. ORDERS DISCONTINUING MILITARY SERVICE FOR ANY REASON DO NOT
  QUALIFY AS PCS ORDERS.


 Landlord Initials                                                        Resident Initials                  /
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 41.     SUCCESSORS IN INTEREST. This Agreement shall be binding upon and shall inure to the benefit of
 the heirs, legal representatives and assigns of the parties hereto, and all covenants are to be construed as
 conditions of this Agreement.

 42.     GOVERNING LAW. This Lease shall be construed in accordance with the laws of the State of GA,
 including without limitation, the Revised Code and the Landlord - Tenant Act.

 43.     COMPLETE AGREEMENT. This Agreement and the attachments and addenda referred to above
 represent the entire agreement between the parties hereto. No amendment to or modification of this
 Agreement or any attachment or addenda hereto shall be valid unless written and executed by Landlord
 and Resident.

 THIS IS A LEGALLY BINDING CONTRACT. RESIDENT ACKNOWLEDGES THAT RESIDENT HAS HAD AN
 ADEQUATE OPPORTUNITY TO READ AND STUDY THIS AGREEMENT AND TO CONSULT WITH LEGAL
 COUNSEL IF RESIDENT HAS SO DESIRED.




                                         (Signatures on page following)

Landlord Initials                                                       Resident Initials                  /
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 RESIDENT(S)                                                                 RESIDENT(S)


 Signature                                                                   Signature

 Precious White                                                              Ashley Bragg
 Printed Name                                                                Printed Name

 08/28/2022                                                                  08/29/2022
 Date                                                                        Date


 RESIDENT(S)                                                                 RESIDENT(S)


 Signature                                                                   Signature


 Printed Name                                                                Printed Name


 Date                                                                        Date


 RESIDENT(S)                                                                 GUARANTOR


 Signature                                                                   Signature


 Printed Name                                                                Printed Name


 Date                                                                        Date


 Landlord


 By: Authorized Agent

 08/29/2022
 Date




Landlord Initials                                                       Resident Initials                  /
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                                         LANDLORD RULES AND REGULATIONS

        1.   To maintain the premises in a clean, safe, and sanitary condition and to dispose of all rubbish,
             garbage, trash, and other waste in a sanitary manner.

        2.   To refrain from and to cause other members of the household and guests to refrain from
             intentionally or negligently destroying, defacing, impairing, or removing parts of the premises,
             appurtenances, equipment, furnishings or fixtures.

        3.   To conduct him/herself and require other persons on the premises with his/her consent to conduct
             themselves in a manner that shall not interfere with or diminish a neighbor’s peaceful enjoyment of
             their accommodations; and to conduct themselves in a manner which is conducive to maintaining
             the premises in a decent, safe, sanitary condition; and to refrain from any illegal acts or activities
             while on the leased rental premises.

        4.   To pay within fifteen (15) days agreed upon or arbitrated reasonable charges (other than the usual
             fair wear and tear) for the replacement or repair of damages to any portion of the premises or
             appliances caused by RESIDENT members of the household or guests.

        5.   To use only in a reasonable manner all electrical, plumbing, sanitary, heating, ventilation and any
             other facilities and appurtenances.

        6.   To not remove any of LANDLORD’s furnishings, appliances, or fixtures and make no alterations,
             repairs, or changes, or to repaint or renovate the interior of the premises or appurtenances without
             the expressed written consent of the LANDLORD.

        7.   To be responsible for frozen pipes and other damages caused by open windows or doors, which
             result from the negligent or wrongful acts of the RESIDENT or their guests and report any defects
             or water leaks immediately to the LANDLORD. Windows shall be kept closed during the extreme
             cold months when the premises are unoccupied. If windows are left open in an unoccupied unit
             during times of ambient temperatures of less than 32 degrees Fahrenheit (32F), LANDLORD shall
             enter and close windows at a charge of $25.00.

        8.   Where applicable, to utilize care such that carpet and pad are not damaged as a part of the cleaning
             process.

        9.   To refrain from storing, or having on the premises or grounds, any hazardous or flammable
             materials with the exception of common household materials. Hazardous materials and non-
             household batteries must not be left in toters; they must be disposed of in accordance with laws at
             the Hazardous Waste Collection Center at the Regional Landfill.

        10. To maintain all smoke detection devices, fire extinguishers, and carbon monoxide detection devices
            on the premises in good working order and to promptly notify the LANDLORD of any malfunction.

        11. To maintain patios, porches, and decks in good order ensuring access to emergency exits. Patios,
            porches, and decks are not to be used for unsightly storage.




Landlord Initials                                                         Resident Initials                  /
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                                                     UTILITY SERVICES ADDENDUM

The Utility Addendum is incorporated into the Lease Contract (referred to in this addendum as “Lease Contract” or “Lease”) dated 10/27/2022
by and between STREETLANE HOMES (Landlord, Authorized Agent for Owner) and Precious White and Ashley Bragg (Resident) located at 361
Hunterian Pl (street address) in Newnan, GA, 30265 (city, state, zip code). This Utility Services Addendum is in addition to all terms and
conditions of the Lease. To the extent that the terms of this Utility Addendum conflict with those of the Lease, this Utility Addendum shall
control.

     1.  Responsibility for payment of utilities, and the method of metering or otherwise measuring the cost of the utility, will be as indicated
         below.
     a.  Water, Sewer, Gas, Electric and Trash service to your dwelling will be billed by the service provider to and paid for by STREETLANE
         HOMES and then allocated directly to you for payment monthly based on the exact amount billed by the provider by service type
     2. If a pass through method for trash or other utility service is used, Resident and Owner agree that the charges indicated on this
         Agreement (as may be amended with written notice) represent a fair and reasonable amount for the service(s) provided. Resident
         agrees that Owner retains the right to request and submit a change of Service Provider without prior notice to the Resident. Owner
         agrees that said change of Service Provider will not interfere with the Residents ability to utilize said services.
     3. When billed by us directly or through our billing company, you must pay utility bills on the 1st day of each month with your rent
         payment, in accordance with Provision 3. “Rent and Security Deposit of the Lease” of the Lease Contract. Payment received later
         than the 4th day of the month is considered late. If a payment is late, you will be responsible for a late fee as indicated in your Lease.
         The late payment of a bill or failure to pay any utility bill is a material and substantial breach of the Lease and we will exercise all
         remedies available under the Lease, up to and including eviction for nonpayment. To the extent there are new account, monthly
         administrative, late or final bill fees, you shall pay such fees as indicated below.
                                 New Account Fee                                        $10.00 (not to exceed $10.00)
                                 Monthly Administrative Billing Fee                     $11.00 (not to exceed $11.00)
                                 Late Fee                                               $5.00 (not to exceed $5.00)
                                 Final Bill Skip Fee                                    $10.00 (not to exceed $10.00)
     4. You will be charged for the full period of time that you were living in, occupying, or responsible for the payment of rent or utility
         charges on the dwelling. If you breach the Lease, you will be responsible for the utility charges for the time period you were obliged
         to pay the charges under the Lease, subject to our mitigation of damages.
     5. When you vacate the dwelling, you will receive a final bill which may be estimated based on your prior utility usage. The bill must be
         paid at the time you move out or it will be deducted from the security deposit.
     6. We are not liable for any losses or damages you incur as a result of outages, interruptions, or fluctuations in utility services provided
         to the dwelling unless such loss or damage was the direct result of negligence by us or our employees. You release us from any and
         all such claims and waive any claims for offset or reduction of rent or diminished rental value of the dwelling due to such outages,
         interruptions, or fluctuations. Resident agrees not to engage with or contract services through commodity brokers who contract
         adjustments in utility services, contract rate adjustment savings, or any changes therein to any utility services currently or previously
         in use and contracted by the owner at this dwelling for the duration of this agreement.
     7. You agree not to tamper with, adjust, or disconnect any utility sub-metering system or device. Violation of this provision is a material
         breach of your Lease and may subject you to eviction or other remedies available under the Lease, this Utility Services Addendum
         and at law.
     8. Where lawful, all utility, charges, and fees or any kind under the Lease shall be considered additional rent, and if partial payments
         are accepted by the Owner, they will be allocated first to the non-rent charges and to rent last.
     9. You agree that you may, upon thirty (30) days prior written notice from Owner to you, begin receiving a bill for additional utilities
         and services, at which time such additional utilities and services shall for all purposes be included in the term Utilities. Satellite,
         Cable Television, and Telephone service are not labeled or considered as additional utilities or be included in the term Utilities within
         this agreement.
     10. This Addendum is designed for use in multiple jurisdictions, and no billing method, charge, or fee mentioned herein will be used in
         any jurisdiction where such use would be unlawful. If any provision of this addendum or the Lease is invalid or unenforceable under
         applicable law, such provision shall be ineffective to the extent of such invalidity or unenforceability only without invalidating or
         otherwise affecting the remainder of this addendum or the Lease. Except as specifically stated herein, all other terms and conditions
         of the Lease shall remain unchanged. In the event of any conflict between the terms of this Addendum and the terms of the Lease,
         the terms of this Addendum shall control.
     11. The following special provisions and any addenda or written rules furnished to you at or before signing will become part of this
         Utility Addendum and will supersede any conflicting provisions of this printed Utility Addendum and/or Lease Contract.




Landlord Initials                                                                     Resident Initials                         /
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                          LEAD BASED PAINT DISCLOSURE ADDENDUM

          This Lead Based Paint Disclosure Addendum (this “Addendum”) is dated
 10/27/2022, by and between Streetlane Homes (“Landlord”) and Precious White and Ashley
 Bragg (“Resident”) between the parties to which it is attached (the “Rental Agreement”).
 Capitalized terms not defined in this Addendum shall have the same meaning as in the Rental
 Agreement.

           1.     Lead Based Paint Disclosure. If the dwelling unit at the Premises was built prior
   to 1978, Landlord is required to: (i) notify Resident of any known lead-based paint (“LBP”) or
   LBP hazards in the dwelling unit; (ii) provide Resident with any LBP risk assessments or
   inspections of the Premises in Landlord’s possession; (iii) provide Resident with the Disclosure
   on Lead-based Paint and Lead-based Paint Hazards, and any report, records, pamphlets, and/or
   other materials referenced therein, including the pamphlet “Protect Your Family from Lead in
   Your Home” (collectively “LBP Information”). Landlord hereby gives notice to Resident
   that?

         [_] The dwelling unit at the Premises was constructed prior to 1978, and Resident
   hereby agrees that Resident has received and executed the Disclosure of Information on the
   Lead-Based Paint and Lead-Based Paint Hazards, and has received any reports, records,
   pamphlets, and/or other materials referenced therein, including the pamphlet “Protect Your
   Family from Lead In Your Home.”
   OR
            [x] The dwelling unit at the Premises was constructed in 1978 or later.

Resident(s) Initials             /                  /                 /                 /                 /



         2.    Controlling Provisions. In the event of any conflict between the terms of this
   Addendum and the Rental Agreement, the terms of this Addendum shall control.




 Landlord Initials                                                         Resident Initials                  /
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                                        INSURANCE ADDENDUM
                                     (Insurance Required by Resident)
        This Insurance Addendum (this “Addendum”) is dated 10/27/2022, by and between
 Streetlane Homes (“Landlord”) and Precious White and Ashley Bragg (“Resident”) and is a
 part of the Rental Agreement between the parties to which it is attached (the “Rental
 Agreement”). Capitalized terms not defined in this Addendum shall have the same meaning as in
 the Rental Agreement.

        1.      No Landlord Liability. Landlord shall not be liable for personal injury or for
 damage to or loss of Resident’s personal property (furniture, jewelry, clothing, etc.) from fire,
 flood, water leaks, rain, hail, ice, snow, smoke, explosions, interruption of utilities, theft, acts of
 God, or any other event whatsoever except the gross negligence or willful misconduct of
 Landlord. Resident understands that Landlord’s insurance for these risks does not cover
 Resident, any of Resident’s personal property, or any family members, guests, or invitees or their
 personal property, and that Resident and its family members, guests, and invitees are not
 considered a co-insured of the Landlord.

        2.       Personal Liability Insurance. Resident agrees to maintain, at Resident’s sole cost
 and expense, during the Term of the Lease and any subsequent renewal periods, a policy of
 personal liability insurance, which provides coverage to third parties in the amount not less than
 $100,000 per occurrence. Landlord shall be named as an interested party on such policy.
 Resident understands that such liability insurance does not protect against loss or damage to
 personal property or belongings.

          3.     Losses and Damages to Property. Resident is solely responsible for any damage
 or loss to the personal property (furniture, jewelry, clothing, etc.) of Resident and its family
 members, guests, and invitees and their personal property, from fire, flood, water leaks, rain,
 hail, ice, snow, smoke, explosions, interruption of utilities, theft, acts of God, or any other event
 whatsoever except the gross negligence or willful misconduct of Landlord, and for obtaining
 insurance against these risks.

        4.     Insurance Program. Resident acknowledges that Landlord has made available to
 Resident a program (the “Program”) providing an opportunity to purchase policies of renter’s
 insurance or personal liability insurance. However, Resident is under no obligation to
 purchase renter’s insurance or personal liability insurance through this Program.

         5.      Proof of Insurance; Failure to Insure. Prior to moving in, Resident must provide
 proof that Resident has obtained $100,000 personal liability coverage as described in Section 2.
 Resident shall also provide proof that Resident is maintaining this insurance from time to time
 thereafter upon Landlord’s reasonable request. If Resident fails to provide proof of insurance
 prior to move in, or fails to maintain insurance as required herein, Landlord may, but shall not be
 required to, obtain insurance on behalf of Resident, to the extent permitted by the laws of the

Landlord Initials                                                       Resident Initials                  /
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Jurisdiction in which the Premises is located, the cost of which will be added to the Resident’s
monthly Rent.
Proof of coverage, whether obtained through Landlord’s Program or another broker, must be:

                                    “Uploaded into resident web portal”

       6.    Controlling Provisions. In the event of any conflict between the terms of this
 Addendum and the Rental Agreement, the terms of this Addendum shall control.




Landlord Initials                                                       Resident Initials                  /
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                                      LANDSCAPING ADDENDUM

          This Landscaping Addendum (this “Addendum”) is dated 10/27/2022, by and
between Streetlane Homes (“Landlord”) and Precious White and Ashley Bragg (“Resident”),
and is a part of the Rental Agreement between the parties to which it is attached (the “Rental
Agreement”). Capitalized terms not defined in this Addendum shall have the same meaning as in
the Rental Agreement.
         1.        Landscaping. Notwithstanding anything to the contrary in the Rental
Agreement, Landlord may provide landscaping services at the Premises, including but not limited
to, maintenance of the front yard and backyard garden, landscaping, trees, shrubs, and grass, and
proper disposal of all clippings and waste (the “Landscaping Services”) in the following
circumstances and subject to the following terms and conditions:
                (a)    Resident may request on or before the Commencement Date of the Rental
 Agreement, or during the Lease Term, that Landlord assume responsibility for Landscaping
 Services at the Premises. If Resident desires Landlord to assume responsibility for Landscaping
 Services during the Lease Term, Resident shall deliver such request in writing to Landlord.
 Landlord shall not be obligated to accept such request; if Landlord accepts such request, then
 Landlord’s provision of Landscaping Services will begin the first day of the first full month
 following such written request and will continue until the expiration of the Lease Term.
                (b)    In the event that Resident, in Landlord’s sole determination, fails to
 comply with its obligations under the Rental Agreement with respect to Landscaping Services at
 the Premises, Landlord shall have the right (but not the obligation) to assume such obligations of
 Resident upon notice to Resident of such intent, for the remainder of the Lease Term.
         2.         Payment. If Landlord assumes Resident’s obligations with respect to
Landscaping Services pursuant to (a) or (b) of Paragraph 1 of this Addendum, Resident shall
pay, at the time and place and in the same manner as Resident pays Rent and all other amounts
due under the Rental Agreement, an additional fee, that will be determined at the time Landlord
assumes Resident’s Landscaping Services responsibility at the Premises (the “Landscaping Fee”).
Resident’s failure to timely pay the Landscaping Fee shall be considered a default under the
Rental Agreement, and shall entitle Landlord to all remedies available to Landlord thereunder.

        3.       Controlling Provisions. In the event of any conflict between the terms of
this Addendum and the Rental Agreement, the terms of this Addendum shall control.




Landlord Initials                                                       Resident Initials                  /
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                          METHOD OF RENT PAYMENT ADDENDUM

        This Method of Rent Payment Addendum (this “Addendum”) is dated 10/27/2022,
 by and between Streetlane Homes (“Landlord”) and Precious White and Ashley Bragg
 (“Resident”), and is a part of the Rental Agreement between the parties to which it is attached
 (the “Rental Agreement”). Capitalized terms not defined in this Addendum shall have the same
 meaning as in the Rental Agreement.
 Notwithstanding anything to the contrary in the Rental Agreement, Resident shall pay Rent by
 the following methods:

 Preferred Electronic Payment On Landlord’s Website: Subject to Local Laws, Rent should
 be paid directly on Landlord’s website. To pay Rent on Landlord’s website, please log onto
 www.streetlanehomes.com and follow the instructions for paying the Rent.
 Mail: Rent may be paid by personal check, money order or certified cashier’s check made
 payable to Streetlane Homes and sent to the following address:

         717 N. Harwood Street, Suite 2800, Dallas, TX 75201
 Physical Delivery: Rent may be paid by physical delivery i n t h e f o r m o f personal
 check, money order or cashier’s check, between the hours of 9:00 a.m. and 5:00 p.m. local
 time to the following address:
         800 Battery Ave, Suite 100, Atlanta, GA 30339

 Cash will not be accepted as a method of rent payment. Checks sent by the U.S. mail and
 express or overnight delivery are done so at the sender's own risk. Rents will be credited as paid
 only when actually received by Landlord. If you mail your Rent, it is recommended that it be
 mailed at least one (1) week early to allow for any delay in delivery. Remember, if your Rent is
 lost in the mail or not received for any reason, it has not been paid. If it is received after the 4th
 of each month, Resident is subject to a Late Charge.

 Except as expressly modified above, all other terms and conditions of the Rental Agreement
 shall remain in full force and effect.

 The parties hereto have read, agree to and understand the terms of this Method of Rent Payment
 Addendum as stated herein.



Landlord Initials                                                       Resident Initials                  /
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                                                       Page 29 of 31



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                                                                 PET ADDENDUM

                  This Pet Addendum (this “Addendum”) is dated 10/27/2022, by and between
        Streetlane Homes (“Landlord”) and Precious White and Ashley Bragg __________________________ (“Resident”),
        and is a part of the Rental Agreement between the parties to which it is attached (the “Rental Agreement”).
        Capitalized terms not defined in this Addendum shall have the same meaning as in the RentalAgreement.


            A. A NON-REFUNDABLE PET FEE in the amount of ($0.00) ($300.00 initial pet, $100 additional per pet) must be paid in
                advance of any pets being permitted upon the premises. It is understoodand agreed to by the Resident that this
                NON-REFUNDABLE PET FEE is for the sole privilege of having a pet upon the premises regardless if the pet remains
                or is removed from the premises. Resident is advised that proof of professional cleaning for pet odors and stains
                will be required at move-out. If such proof is not submitted resident will be charged for such services. THIS FEE
                APPLIES ALSO TO “VISITING” PETS AND/OR “HOUSE-SITTING PETS”.

            B. There will be an additional monthly premium of ($0.00) ($25.00 for each pet) during the term of the lease or as
                long as the Resident occupies the unit with the pet(s).

            C. Resident understands and agrees, any damages caused by a pet are to be deducted from theResident’s Security
                Deposit. Furthermore, if damages caused by a pet exceed the amount of Resident’s Security Deposit, Resident will
                be responsible to pay for the difference in cost.

            D. Resident will not permit pet(s) to disturb other residents or neighbors.

            E. Resident will not leave pet(s) unattended for extended periods of time. Leads, chains, and / or runs are not
                permitted.

            F. When going to and from apartment or house, pet(s) must be kept on a leash or carried.Pet(s) are never to run
                loose on apartment or house grounds or in the neighborhood.

            G. Pet(s) should be walked away from the buildings and should be taught to “curb”. Residentwill clean and dispose of
                any and all animal waste in a proper and sanitary manner.


            H. Resident agrees that if, in the opinion of the Landlord the pet(s) becomes a nuisance, thepet(s) will be removed
                from the premises, or upon written notice from the Landlord, Resident will move immediately and forfeit
                deposit.




Landlord Initials                                                             Resident Initials                     /
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            I. Breed restrictions apply, and license veterinarian letter required prior to move in of pet forbreed of pet. No
                Pit Bulls, American Staffordshire Terriers, Rottweilers, Doberman, Wolf Hybrid, Akita, and Chows, or any
                breed mix of the aforementioned will be allowed.



            J. The maximum full-grown weight allowed will be determined by Landlord.

     Name of Pet #2:
     Type of Pet #2:
     Breed of Pet #2:
     Full grown weight of pet #2:



                     Resident agrees to upload pictures of said Pet into the Resident web portal so that Landlord has a
                     complete understanding of the Pet’s physical characteristics.

     Name of Pet #2:
     Type of Pet #2:
     Breed of Pet #2:
     Full grown weight of pet #2:



                     Resident agrees to upload pictures of said Pet into the Resident web portal so that Landlord has a
                     complete understanding of the Pet’s physical characteristics.




Landlord Initials                                                              Resident Initials                     /
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Document Information                             Document     Page 46 of 53

Document Reference Number: 238501011

Document Pages: 31                          Signatures: 3                                        Status: Completed
                                            Initials: 92

Signature Summary                Signature                                      Initials        Timestamp                    Signing Status

Precious White                                                                                  08/28/2022 05:12:22 PM CST Completed

Document Started:
Email Address:


Ashley Bragg                                                                                    08/29/2022 11:09:21 AM CST Completed

Document Started:
Email Address:


LaCresia Solomon                                                                                08/29/2022 03:35:35 PM CST Completed

Document Started:
Email Address:

Signature Details        Page Signature/Initials                           Signing Status       Tracking Details

Precious White           1                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:12:27 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           2                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:12:35 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           3                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:12:33 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           4                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:12:47 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           5                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:23 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           6                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:28 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           7                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:33 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           8                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:35 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           9                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:45 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           9                                                 Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:46 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           10                                                Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:49 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           12                                                Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:52 PM CST
                                                                                                User Agent: Safari on iPhone

Precious White           13                                                Completed            IP Address: 174.209.203.89
                                                                                                Timestamp: 08/28/2022 05:13:57 PM CST
                                                                                                User Agent: Safari on iPhone

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         Case 23-10669-pmb       Doc 22       Filed 08/22/23 Entered 08/22/23 15:42:32                              Desc Main
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Precious White       14                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:13:58 PM CST
                                                                                            User Agent: Safari on iPhone


Precious White       16                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:02 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       18                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:07 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       19                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:09 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       20                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:12 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       20                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:17 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       21                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:20 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       22                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:25 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       22                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:30 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       23                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:32 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       24                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:36 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       25                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:41 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       25                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:44 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       26                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:47 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       27                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:50 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       28                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:14:52 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       29                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:15:05 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       30                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:15:09 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       31                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:15:13 PM CST
                                                                                            User Agent: Safari on iPhone

Precious White       31                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:15:15 PM CST
                                                                                            User Agent: Safari on iPhone
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Precious White       31                                                Completed            IP Address: 174.209.203.89
                                                                                            Timestamp: 08/28/2022 05:15:21 PM CST
                                                                                            User Agent: Safari on iPhone


Ashley Bragg         1                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:00 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         2                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:00 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         3                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:00 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         4                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:02 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         5                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:02 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         6                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:03 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         7                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:03 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         8                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:03 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         9                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:03 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         9                                                 Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:03 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         10                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:07 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         12                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:09 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         13                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:15 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         14                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:18 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         16                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:35 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         18                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:39 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         19                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:42 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         20                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:42 AM CST
                                                                                            User Agent: Chrome on Android

Ashley Bragg         20                                                Completed            IP Address: 174.209.194.30
                                                                                            Timestamp: 08/29/2022 11:10:44 AM CST
                                                                                            User Agent: Chrome on Android
                     This document is digitally signed using RENTCafe eSignature services. Document ID: 238501011
        Case 23-10669-pmb       Doc 22       Filed 08/22/23 Entered 08/22/23 15:42:32                              Desc Main
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Ashley Bragg        21                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:46 AM CST
                                                                                           User Agent: Chrome on Android


Ashley Bragg        22                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:48 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        22                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:51 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        23                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:53 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        24                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:55 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        25                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:58 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        25                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:10:57 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        26                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:00 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        27                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:02 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        28                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:04 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        29                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:06 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        30                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:08 AM CST
                                                                                           User Agent: Chrome on Android

Ashley Bragg        31                                                Completed            IP Address: 174.209.194.30
                                                                                           Timestamp: 08/29/2022 11:11:10 AM CST
                                                                                           User Agent: Chrome on Android

LaCresia Solomon    1                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:51 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    2                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:53 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    3                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:54 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    4                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:54 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    5                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:55 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    6                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:56 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    7                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:56 PM CST
                                                                                           User Agent: Chrome on Windows
                    This document is digitally signed using RENTCafe eSignature services. Document ID: 238501011
        Case 23-10669-pmb       Doc 22       Filed 08/22/23 Entered 08/22/23 15:42:32                              Desc Main
                                            Document     Page 50 of 53
LaCresia Solomon    8                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:57 PM CST
                                                                                           User Agent: Chrome on Windows


LaCresia Solomon    9                                                 Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:57 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    10                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:58 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    12                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:58 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    13                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:58 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    14                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:59 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    16                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:33:59 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    18                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:00 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    19                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:00 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    20                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:01 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    21                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:01 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    22                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:02 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    22                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:04 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    23                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:05 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    24                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:05 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    25                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:06 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    26                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:07 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    27                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:08 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    28                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:09 PM CST
                                                                                           User Agent: Chrome on Windows

LaCresia Solomon    29                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:10 PM CST
                                                                                           User Agent: Chrome on Windows
                    This document is digitally signed using RENTCafe eSignature services. Document ID: 238501011
        Case 23-10669-pmb       Doc 22       Filed 08/22/23 Entered 08/22/23 15:42:32                              Desc Main
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LaCresia Solomon    30                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:11 PM CST
                                                                                           User Agent: Chrome on Windows


LaCresia Solomon    31                                                Completed            IP Address: 73.207.211.95
                                                                                           Timestamp: 08/29/2022 03:34:13 PM CST
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Resident Ledger                                 Document     Page 53 of 53




Date: 08/16/2023

Code        t0345123                Property       11113778        Lease From       10/27/2022
Name        Precious White          Unit           11113778        Lease To         10/26/2023
Address     361 Hunterian Pl        Status         Eviction        Move In          10/23/2020
                                    Rent           2114.70         Move Out         11/30/2023
City        Newnan, GA              Phone (H)                      Phone (W)      xxxxxxxxxxxxxxxxx
                                                                                    (678) 673-4220

   Date    Chg Code                        Description                   Charge Payment Balance Chg/Rec
06/01/2023 deposit Refundable Security Deposit                          1,680.00          1,680.00 33358008
06/01/2023           chk# Tip Top #1_SD Deposit Balance per Prior Owner          1,680.00     0.00 10623685
06/30/2023 duesell Balance Due per Previous Owner (Prior 7/1/2023)         88.92             88.92 33361293
07/18/2023      late Late Fee - Per Prior Owner                           280.00            368.92 33360116
07/18/2023   notice Notice Fee - Per Prior Owner                           35.00            403.92 33360117
07/18/2023     rent Resident Rent - Per Prior Owner                       614.70          1,018.62 33360118
07/18/2023 utlsetup Utility Set-Up & Service fee - Per Prior Owner          7.95          1,026.57 33360119
08/01/2023 utlgascb Gas - 05/16/23-06/15/23                                49.14          1,075.71 33417486
08/01/2023 utlsetup Service Fee                                            11.00          1,086.71 33417488
08/01/2023 utlsewcb Sewer - 05/19/23-06/21/23                              34.45          1,121.16 33417492
08/01/2023 utlwatcb Water - 05/19/23-06/21/23                              28.44          1,149.60 33417495
08/01/2023     rent Resident Rent (08/2023)                             2,114.70          3,264.30 33677743
08/05/2023      late Late Fee                                             100.00          3,364.30 33993772
08/15/2023      late Late Fee, 10 days @ $15.00/day                       150.00          3,514.30 33996828




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